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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 IN RE:                                           )
                                                  )              Case No. 21-13328-MER
 SUMMIT FAMILY RESTAURANTS                        )
 INC.                                             )
                                                  )              Chapter 11
                                                  )              Subchapter V
          Debtor.                                 )

 ______________________________________________________________________________

    NOTICE OF FIRST INTERIM APPLICATION FOR ALLOWANCE OF FEES AND
    EXPENSES AS COUNSEL FOR THE DEBTOR FOR KUTNER BRINEN DICKEY
         RILEY, P.C. FOR THE PERIOD FROM JULY 12, 2021 THROUGH
                            SEPTEMBER 30, 2021
 ____________________________________________________________________________________

                           OBJECTION DEADLINE: NOVEMBER 11, 2021

         YOU ARE HEREBY NOTIFIED that Kutner Brinen Dickey Riley, P.C., who has served as
 counsel for the Debtor in this case, has requested attorney fees in the sum of $28,335.00 and costs in the
 total sum of $742.78 pursuant to 11 U.S.C. § 330 for its services provided in this case from July 12, 2021
 through September 30, 2021.

         If you oppose the motion or object to the requested relief, your objection and request for hearing
 must be filed on or before the objection deadline stated above, served on the Movant/Applicant at the
 address indicated below, and must state clearly all objections and any legal basis for the objections. The
 court will not consider general objections.

          In the absence of a timely, substantiated objection and request for hearing by an interested party,
 the court may approve or grant the requested relief without any further notice to creditors or other
 interested parties.

 DATED: October 21, 2021                          Respectfully submitted,

                                                  By: /s/ Jonathan M. Dickey
                                                           Jonathan M. Dickey, #46981
                                                           KUTNER BRINEN DICKEY RILEY, P.C.
                                                           1660 Lincoln Street, Suite 1720
                                                           Denver, CO 80264
                                                           jmd@kutnerlaw.com
                                                           Telephone: 303-832-3047
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                                 CERTIFICATE OF SERVICE

         I certify that on October 21, 2021, I served a complete copy of the foregoing NOTICE
 OF FIRST INTERIM APPLICATION FOR ALLOWANCE OF FEES AND EXPENSES
 AS COUNSEL FOR THE DEBTOR FOR KUTNER BRINEN DICKEY RILEY, P.C. FOR
 THE PERIOD FROM JULY 12, 2021 THROUGH SEPTEMBER 30, 2021 AND COVER
 SHEET FOR APPLICATION FOR PROFESSIONAL COMPENSATION on the following
 parties in the attached Creditor Address Mailing Matrix, which was obtained from the Court’s
 docket on October 21, 2021 in accordance with 11 U.S.C. Section 342(c) and Fed. R. Bankr. P.
 2002




 /s/Vicky Martina
 Vicky Martina
 Kutner Brinen Dickey Riley PC
